Case 6:16-cr-00039-AM , Dogument 368 ed 08/02/21 ola br e 34 ¢')

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Daniel omason Sml

F.C.C. Beaumont (LOW) etl
Reg. # 29163-380 07 Ne F

P.O. Box 26020 YL MP anova) 9
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Beaumont, Texas 77720 l,

Tom Rickhof yom ner ti Lele

Lamar Smith Lat me
This is Danny 'from Sonterra'. Please heed Documents enclosed.

Some Briefs not included, but mentioned below, and findable on/in

Docket in Waco (FED.) Help Me, Help Me. To Date, Case 6:20CV626 is

LIVE Action and consists of some 150 Pages .(of mine)

This is Fraud from the beginning, and then Proven that I NEVER committed

'their' stupid Medicare Fraud, and so when I took it to Trial, they

slammed me with stacking of additional bla, bla...

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I write to you for purpose to alert your office staff, and you
of the evidence enclosed whereby realization of Felony and Treason
to the Constitution on the part of certain federal judges has occurred.
In addition to the document(s) enclosed, I would hope that you will
heed the Motion(s), Brief(s), Writ(s), and Affidavit(s) filed in VY
the Western District of Texas, and specifically the San Antonio venue x Was?

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to clearly see the overly affirmed points of attack for proof of my
actuel innocence of the violation(s) of federal criminal statutory
codes for which I have been (Fraudulently) convicted. (Emphasis Added)

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To date, the document(s) have been evaded, which have all entered
LIVE Docketed Action, since July of 2020, and are listed to wit:
Motion 'in the form of' Title 28 U.S.C. Section 2255
Motion To Compel Newly Discovered Evidence & Year 2020 Synopsis/Addendum
Dispositive Motion In Ex Parte Applicability
Motion To Compel Judicial Cognizance
Writ Of Error & An Affidavit Of Error-In-Fact & Affidavit For
Regress/Release/Recoupment
PART II Writ Of Error & An Affidavit Of Error-In-Fact & Affidavit For
Regress/Release/Recoupment

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Now this enclosed PART III of above name mentioned,

tow Quasi-Man Motion As Lateo. + Metion For Guieramertal OPPOSETION «a «
So, your intervention is called upon for correction to this Fraud.

Thank You for your time as I look forward to hearing from you.
And Now Motion In/For Governmental Opposition By Illustration Of Manifest
Injustice, with Evidence Based Exculpatory, Vindicating Affirmation.

re TT EB Sincerety 5/2faou! Mie U.C.C. 1-308

AUG 0% 2021 Without Prejudice Daniel Thomason Smith(c)

 

CLERK, U.S. DISTRICT COURT

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F.C.C. Beaumont (LOW

Po “tr Reg. # 29163-380
= a yn P.O. Box 26020
aint Beaumont, Texas 77720

of!
Senator Dick Durbin
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Submitted with utmost Sincerety peat

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Without Prejudice Daniel Thomason Smith(c)
